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                    IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

              Plaintiff,

       vs.                                                             No. CR 07-748 MCA

BRADLEY WASSON, et al.,

              Defendants.


                        MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on Defendant Bradley Wasson’s Motion

to Dismiss Indictment Without Prejudice on the Basis that the Current United States Attorney

has Been Unconstitutionally Appointed [Doc. 215] filed on February 1, 2008. Having

reviewed the parties’ submissions, the relevant law, and being otherwise fully advised in the

premises, the Court determines that Defendant’s motion does not provide grounds for

dismissing the Superseding Indictment [Doc. 36] for the reasons set forth below. Therefore,

the motion is denied.

       The Administrative Order appointing Gregory J. Fouratt as a United States Attorney

pursuant to 28 U.S.C. § 546(d) has generated a number of recent rulings on the

constitutionality of that statute and its purported effect on criminal prosecutions in the

District of New Mexico. See United States v. Tafoya, No. CR 07-697 MCA, Doc. 130

(D.N.M. Feb. 15, 2008); United States v. Rose, No. CR 07-2145BB, Doc. 62 (D.N.M. Feb.

29, 2008); United States v. Baldwin, No. CR 07-2240 JB, Doc. 31 (D.N.M. Feb. 26, 2008);
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United States v. Coriz, No. CR -6-2566 JH, Doc. 97 (D.N.M. Mar. 18, 2008); United States

v. Smalls, No. CR 06-2403 RB, Doc. 257 (D.N.M. Mar. 19, 2008); United States v. Jarvis,

No. CR 05-1849 JH, Doc. 1245 (D.N.M. Mar. 17, 2008); United States v. Rubalcaba, No.

CR 07-789 LH, Doc. 32 (D.N.M. Apr. 1, 2008); United States v. Steadman, No. CR 07-1335

LH, Doc. 37 (D.N.M. Apr. 1, 2008). For substantially the same reasons that were previously

articulated in those rulings, I decline to dismiss the Superseding Indictment in the case at bar.

       As in Tafoya, the Superseding Indictment [Doc. 36] in the case at bar was filed before

the date of the Administrative Order appointing Mr. Fouratt as United States Attorney.

Under these circumstances, I conclude that questions about the constitutionality of the

appointment of a United States Attorney would not affect the validity of the Superseding

Indictment. See United States v. Gantt, 194 F.3d 987, 998 (9th Cir. 1999). I also conclude

that this case does not provide an appropriate vehicle for a facial challenge to the

constitutionality of the statute, and I decline to answer hypothetical questions about the

statute’s constitutionality which have no basis in fact. See United States v. Salerno, 481 U.S.

739, 745 (1987); Sabri v. United States, 541 U.S. 600, 608-09 (2004).

       Unlike Tafoya, however, Mr. Fouratt has personally participated in the case at bar in

his former capacity as an Assistant United States Attorney, and this case involves several

Defendants who may be eligible for the death penalty. Insofar as these differences may

warrant a closer examination of the merits of Defendant Wasson’s assertion that the statute

is unconstitutional as applied to the facts of this case, I adopt the reasoning expressed by my

colleagues in United States v. Baldwin, No. CR 07-2240 JB, Doc. 31 (D.N.M. Feb. 26,

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2008), and United States v. Smalls, No. CR 06-2403 RB, Doc. 257 (D.N.M. Mar. 19, 2008).

I also acknowledge the weight of authority from other circuits which have upheld the

constitutionality of the judicial appointment of a United States Attorney under 28 U.S.C. §

546(d). See Gantt, 194 F.3d at 999-1000; United States v. Hilario, 218 F.3d 19, 24-29 (1st

Cir. 2000).

       In particular, I agree with the proposition that neither 28 U.S.C. § 546(d) nor the

Administrative Order appointing Mr. Fouratt as United States Attorney can reasonably be

construed as providing this Court with the type of supervisory powers that would violate

separation-of-powers principles or be incongruous with appropriate judicial activity under

the test formulated in Morrison v. Olson, 487 U.S. 654 (1988). On the contrary, such

supervisory powers remain with the President and his duly appointed Attorney General, who

maintain the power to remove Mr. Fouratt, see 28 U.S.C. § 541(c), nominate someone else

to replace him, see 28 U.S.C. § 546(c)(1), divest him of authority to act in a particular case,

see 28 U.S.C. § 518, and decide whether to file a notice of intent to seek the death penalty

under 18 U.S.C. § 3593(a) as to any of the death-eligible Defendants in this case. See United

States v. Baker, 504 F. Supp. 2d 402, 414-15 (E.D. Ark. 2007) (citing statutes granting

supervisory powers to the Attorney General).

       The Attorney General’s supervisory “authority is nowhere more clearly apparent than

in the processing of capital cases that permit the government to seek the death penalty.” Id.

(citing United States v. Lee, 274 F.3d 485, 489 (8th Cir. 2001)). Under the Justice

Department’s internal protocol set forth in Section 9-10.040 of the July 1, 2007, version of

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the United States Attorneys’ Manual, “the Attorney General will make the final decision

about whether to seek the death penalty.” The Attorney General’s authorization also is

required before a United States Attorney may “enter into a binding plea agreement that

precludes the United States from seeking the death penalty,” id. § 9-10.110, or “withdraw

a notice of intention to seek the death penalty,” id. § 9-10.150. The Court plays no role in

reviewing the prosecutorial decisions of the Attorney General or the recommendations of the

United States Attorney under this internal Justice Department protocol. See Nichols v. Reno,

931 F. Supp. 748, 751-52 (D. Colo. 1996), aff’d, 124 F.3d 1376, 1377 (10th Cir. 1997);

United States v. McVeigh, 944 F. Supp. 1478, 1483-84 (D. Colo. 1996).

       For the foregoing reasons, I conclude that Defendant Wasson’s motion provides no

basis for dismissing the Superseding Indictment in this case.

       IT IS THEREFORE ORDERED that Defendant Bradley Wasson’s Motion to

Dismiss Indictment Without Prejudice on the Basis that the Current United States Attorney

has Been Unconstitutionally Appointed [Doc. 215] is DENIED.

       SO ORDERED in this 2nd day of April, 2008, in Albuquerque, New Mexico.



                                                  M. CHRISTINA ARMIJO
                                                  UNITED STATES DISTRICT JUDGE




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